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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                       IN THE UNITED STATES DISTRICT COURT                           April 02, 2018
                                                                                  David J. Bradley, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                    §
                                    §
IN RE PLAINS ALL AMERICAN PIPELINE, §                    Lead Case
L.P. SECURITIES LITIGATION          §                    No H:15-02404
                                    §

                                     FINAL JUDGMENT

       For the reasons set out in the court’s Memorandum and Opinion of this date, the case is

dismissed, with prejudice. This is a final judgment.

               SIGNED on March 30, 2018, at Houston, Texas.

                                              ______________________________________
                                                         Lee H. Rosenthal
                                                   Chief United States District Judge




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